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  6
                                  UNITED STATES DISTRICT COURT
  7                             NORTHERN DISTRICT OF CALIFORNIA
                                       OAKLAND DIVISION
  8
   9
1.      ABANTE ROOTER AND PLUMBING,
 10     INC., individually and on behalf of all others
        similarly situated,                                   Case No. 4:19-cv-07966-JST
 11
2.                             Plaintiff,
 12                                                       PLAINTIFF’S REQUEST FOR ENTRY
3.      v.                                                OF DEFAULT AGAINST NON-
 13                                                       APPEARING DEFENDANTS
4.      UNLOCKED BUSINESS STRATEGIES,
 14     INC., a New York corporation, THOMAS R.
        COSTA, an individual, and MERCHANT
15      INDUSTRY, LLC d/b/a SWIPE4FREE, a
        New York limited liability company,
16
                               Defendants.
5.17                                                 6.
18
19            Pursuant to Fed. R. Civ. P. 55(a), Plaintiff Abante Rooter and Plumbing, Inc. (“Plaintiff”

20     or “Abante”), hereby respectfully requests that the Clerk of Court enter default against the

21     following Defendants who have failed to appear, answer, or otherwise defend this action:

22                1. Unlocked Business Strategies, Inc. (“UBS”);

23                2. Thomas R. Costa, an individual; and

24                3. Merchant Industry, LLC d/b/a Swipe4Free (“Swipe4Free”).

25     Plaintiff served UBS via its agent for service of process, United States Corporation Agents, Inc.

26     on April 22, 2020 (dkt. 32), placing its deadline to respond to Plaintiff’s Complaint on May 13,

27     2020. Defendant Costa was served on May 5, 2020 (dkt. 34), placing his deadline to respond to

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 1   Plaintiff’s Complaint on May 26, 2020. Swipe4Free was served on April 24, 2020 (dkt. 33),
 2   placing its deadline to respond to Plaintiff’s Complaint on May 15, 2020. None of these
 3   defendants have answered, appeared, or reached out to Plaintiff’s counsel.
 4          The Affidavit of Default, attached hereto as Exhibit A, further supports this request.
 5
 6                                                Respectfully submitted,

 7   Dated: July 2, 2020                          ABANTE ROOTER AND PLUMBING, INC.,
                                                  individually and on behalf of all others similarly
 8                                                situated,
 9
                                          By:     /s/ Taylor T. Smith
10                                                One of Plaintiff’s Attorneys

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21                                                Counsel for Plaintiff and the Putative Class

22                                                *pro hac vice

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